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                    Exhibit 1
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   +$59$5'¶6/,672):,71(66(672%(&$//('/,9(25%<'(326,7,21

        'HIHQGDQW3UHVLGHQWDQG)HOORZVRI+DUYDUG&ROOHJH ³+DUYDUG´ SURYLGHVWKHIROORZLQJ

ZLWQHVVOLVWLGHQWLI\LQJWKRVHZLWQHVVHVLWH[SHFWVLWZLOOFDOORUPD\FDOODWWULDO

:LWQHVVHV+DUYDUG:LOO&DOO            :LWQHVVHV+DUYDUG0D\            :LWQHVVHV+DUYDUG0D\
         LQ3HUVRQ                         &DOO,Q3HUVRQ               &DOO%\'HSRVLWLRQ 9LGHR
                                                                            2U7UDQVFULSW 2QO\
'DYLG&DUG                      5RJHU%DQNV                     (GZDUG%OXP

(ULQ'ULYHU/LQQ                (GZDUG%OXP                     *UDFH&KHQJ

'UHZ)DXVW                      6DOO\&ODUN'RQDKXH             $ELJDLO)LVKHU

:LOOLDP)LW]VLPPRQV             0DUN+DQVHQ                     5LFKDUG)LVKHU

5DNHVK.KXUDQD                  &KDUOHQH.LP                   .DLWOLQ+RZULJDQ

5XWK6LPPRQV                    0DUO\Q0F*UDWK                                

0LFKDHO6PLWK                  7LD5D\                                                       

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        7RWKHH[WHQWWKDWDZLWQHVV¶FLUFXPVWDQFHVFKDQJHRUDZLWQHVVEHFRPHVXQDYDLODEOHIRU

WULDO+DUYDUGUHVHUYHVWKHULJKWWRFDOOWKDWZLWQHVVE\GHSRVLWLRQRUWRFDOODVXEVWLWXWHZLWQHVV

+DUYDUGIXUWKHUUHVHUYHVWKHULJKWWRFDOO DGGLWLRQDOZLWQHVVHVWRSURYLGHIRXQGDWLRQ

WHVWLPRQ\VKRXOGDQ\SDUW\FRQWHVWWKHDXWKHQWLFLW\RUDGPLVVLELOLW\RIDQ\PDWHULDOSURIIHUHGDW

WULDO DGGLWLRQDOZLWQHVVHVWRUHVSRQGWRLVVXHVUDLVHGE\WKH&RXUW¶VSUHWULDORUWULDOUXOLQJVRU
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WRLVVXHVUDLVHGDIWHUWKHVXEPLVVLRQRIWKLVZLWQHVVOLVWDQG DQ\ZLWQHVVOLVWHGRQ6WXGHQWVIRU

)DLU$GPLVVLRQV,QF¶V ³6))$´ ZLWQHVVOLVWRUUHTXLUHGWRUHEXW6))$¶VFDVH7RWKHH[WHQW

WKH&RXUWGHWHUPLQHVWKDWDQ\ZLWQHVVOLVWHGLQWKH0RWLRQRIStudent Amici CuriaeWR3DUWLFLSDWH

LQ7ULDO 'NW ZLOOEHSHUPLWWHGWRWHVWLI\+DUYDUGIXUWKHUUHVHUYHVWKHULJKWWRTXHVWLRQWKDW

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